                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                    CIVIL ACTION NO. 1:24-CV-00253-MOC-SCR


 JOHN DOE,                                        )
                                                  )
                   Plaintiff,                     )
                                                  )
 v.                                               )                    ORDER
                                                  )
 TRAILS ACADEMY, LLC, et al.,                     )
                                                  )
                  Defendants.                     )



        THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

Affidavit [for Kimberly A. Dougherty]” (Doc. No. 23) filed November 13, 2024. For the reasons

set forth therein, the Motion will be granted.


        The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel and to the Honorable Max O. Cogburn, Jr.


        SO ORDERED.                     Signed: November 13, 2024




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